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            IN THE UNITED STATES DISTRICT COURT FOR THE
                    EASTERN DISTRICT OF VIRGINIA

                          Alexandria Division


UNITED STATES OF AMERICA,            )
                                     )
            v.                       )       1:11cr00281
                                     )
LUIS GARDONO PEREZ,                  )
                                     )
      Defendant.                     )


                   M E M O R A N D U M          O P I N I O N

      This matter is before the Court on Defendant Luis Gardono

Perez’s (“Defendant”) pro se Motion for Transcripts and pro se

Motion to Appoint Counsel [Dkts. 423-24] (the “Motions”). 1

                               I. Background

      On April 20, 2012, Defendant Luis Gardono Perez pled guilty

to Conspiracy to Distribute Five Hundred Grams or More of

Cocaine, pursuant to 21 U.S.C. § 846, and was sentenced to sixty

months of imprisonment.       [Dkt. 352.]        Defendant did not file a

notice of appeal.

      On August 7, 2012, Defendant filed a pro se Motion for

Transcripts and a pro se Motion to Appoint Counsel.             He has also

filed an Affidavit in Support of the Motion for Transcripts and

Motion to Appoint Counsel [Dkt. 425] (the “Affidavit”).

                               II. Analysis

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  As an initial matter, the Court notes that filings of a pro se party are
construed liberally. See Haines v. Kerner, 404 U.S. 519, 520 (1972).

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     1. Defendant’s Motion for Transcripts

     As a threshold matter, a defendant may not obtain

transcripts of proceedings in his case unless this Court

"certifies that the suit or appeal is not frivolous and that the

transcript is needed to decide the issue presented by the suit

or appeal."   28 U.S.C. § 753(f).       Regarding entitlement to

transcripts, federal inmates are not entitled to transcripts at

Government expense for collateral attacks on their convictions

absent some showing of a particularized need.         United States v.

MacCollom, 426 U.S. 317, 326-27, (1976); United States v.

Hamlett, 128 F.App’x. 320, 321 (4th Cir. 2005).         "[A]n indigent

is not entitled to a transcript at government expense without a

showing of need, merely to comb the record in the hope of

discovering some flaw."     Jones v. Superintendent, Virginia State

Farm, 460 F.2d 150, 152 (4th Cir. 1972)(quoting United States v.

Glass, 317 F.2d 200, 202 (4th Cir. 1963)); accord United States

v. Parker, 273 F.App’x. 243, 244 (4th Cir. 2008).

     Here, although Defendant states in his motion that he

wishes to appeal his case, he did not file a notice of appeal to

his conviction and sentence.      In addition, the time within which

Defendant was required to file his notice of appeal has already

elapsed.   Fed. R. App. P. 4(b)(1)(A).       Therefore, in Defendant’s

case, there is no suit or other proceeding pending in which this



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Court may certify that the transcripts are needed. 2           Furthermore,

Defendant has failed to show any need for the requested

transcripts.    Merely asserting indigent status and a generalized

intent to appeal does not constitute a sufficient showing of

need.   Defendant is not entitled to transcripts simply to comb

the record.    Accordingly, for the foregoing reasons, Defendant’s

Motion for Transcripts must be denied.

      2. Defendant’s Motion to Appoint Counsel

      Proceedings in forma pauperis are governed by 28 U.S.C. §

1915.   Of particular relevance, 28 U.S.C. § 1915(a)(1) reads:

            [A]ny court of the United States may
            authorize the commencement, prosecution or
            defense of any suit, action or proceeding,
            civil or criminal, or appeal therein,
            without prepayment of fees or security
            therefor, by a person who submits an
            affidavit that includes a statement of all
            assets such prisoner possesses that the
            person is unable to pay such fees or give
            security therefor. Such affidavit shall
            state the nature of the action, defense or
            appeal and affiant’s belief that the person
            is entitled to redress.

28 U.S.C. § 1915(a)(1)(emphasis added).          Under 28 U.S.C. §

1915(e)(1), a court may request an attorney to represent an

indigent party proceeding in forma pauperis.

      As previously stated, there is no suit, appeal, or other

proceeding pending in Defendant’s case in which to proceed in


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  Consequently, there is no need for this Court to engage in an examination of
the frivolity of Defendant’s appeal and the necessity of the transcripts to
determination of the issue presented.

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forma pauperis.    Furthermore, Defendant’s submitted affidavit,

though fairly comprehensive in terms of financial disclosure,

does not state the nature of the appeal he wishes to pursue or

the grounds upon which he is entitled to redress.          With regard

to detailing the nature of Defendant’s action or appeal, both

the Motion and the Affidavit are wholly lacking in specificity.

Accordingly, Defendant’s Motion to Appoint Counsel must be

denied.

                            III.    Conclusion

           For these reasons, the Court will deny Defendant’s

Motions.

           An appropriate Order will issue.




                                                 /s/
August 20, 2012                            James C. Cacheris
Alexandria, Virginia               UNITED STATES DISTRICT COURT JUDGE




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